Case 1:09-cv-20470-FAM Document 1 Entered on FLSD Docket 02/25/2009 Page 1 of 11

 

 
Case 1:09-cv-20470-FAM Document 1 Entered on FLSD Docket 02/25/2009 Page 2 of 11

(Rev. 10/2002) General Document

UNITED STATES DISTRICT COURT
Southern District of Florida
Case Number: 2008-5201 - 0004 4 |

bot Le Stott Je 09-20470

Keola Renog Awasika

 

 

 

 

 

Plaintiff(s) CIV MORE N 0 ] TORREY
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- " Defendant(s) SeaR RO TAMT
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(TITLE OF DOC UMENT)

 

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Case 1:09-cv-20470-FAM Document 1 Entered on FLSD Docket 02/25/2009 Page 3 of 11

(Rev. 10/2002) Complaint

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(Statement of Facts)

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Case 1:09-cv-20470-FAM Document 1 Entered on FLSD Docket 02/25/2009 Page 4 of 11

(Rev. 10/2002) General Document

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name(s) and address(es)

 

 

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Printed or typed name of Filer Signature of Filer
Florida Bar Number E-mail address
Tk 81S B74

Phone Number Facsimile Number

i275 NW 2) AVE APT 1Z6
Street Address °

Mion. FL 2054

City, State, Zip Code

 
Case 1:09-cv-20470-FAM Document 1 Entered on FLSD Docket 02/25/2009 Page 5 of 11

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JOn the _- Z i. day of 20 O¢ 5 vat iy 2 C (4HMM) at 5 ~y . : (Narrative, be specific)

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(sight thumb print}
32.02.08-9
Case 1:09-cv-20470-FAM

 

Document 1 Entered on FLSD

 

OBTS NUMBER

 

CONTINUATION

COMPLAINT/ARREST AFFIDAVIT:

Docket 02/25/2009 Page 7 of 11

 
 

 

POLICE CASE NO. -

 

 

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Juvent Division) anytime that my address changes.

You need not appear in court, but must comply with the instructions on the reverse side hereof.

 

 

Signature of Defendant / Juvenite and Parent or Guardian —

 

32.02.08-6 Rev. 05/08

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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se<-page of: 91 4 N.W. 25th Street pe
DEB INVENTORY NO. Agency Code Miami, Florida 33172
* (305) 471-2900
DATE-TIME IMPOUNDED PROPERTY BUREAU LOCATOR CODE °
" GTHER DEPT. CASENO. OTHER DEPT. PROPERTY LOCATION AND INVENTORY NO.
, FOR PROPERTY AND EVIDENCE BUREAU USE ONLY
ADDRESS WHERE PROPERTY IMPOUNDED (Give exact location where property was located.) TYPE OF CASE
DISCOVERED BY (Name) — ADDRESS City STATE Wer
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Case 1:09-cv-20470-FAM Document 1 Entered on FLSD Docket 02/25/2009 Page 9 of 11

 

 

 

 

Does defendant have any signs/complaints of injury? Oves ered

_ (if Yes, complete beldw data/notify supervisor )

. Explain:

indicate ary signs oF carpiaints of injury regardless whether they heppared picr to,
Curing or after arrest, or whether they have any connection to the arrest at all.

 

 

 

Name and Rank of

 

Supervisor Notified: ————____________—-

 

 

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Defendants Vehicle

 

 

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Bee

 

 

Owner/Driver/Designee (O/D/D must read and sign disclaimer of li

LU eecour May SbLAv LU < h321492 §

YEAR MAKE

TAG STATE

OWNER/DRIVERI/DESIGNEE RELEASE FORM & DISCLAIMER OF LIABILITY

Released to: Us een Aue : J At1o.F1%. 83-6 39-9] &

The undersigned certifies that he/she is the legal owner/driver/designee of the vehicle des
to leave the vehicle mentioned at the location, or removed, or released, the u
Miami-Dade,County and ail of its agents and employees for any damage to, gr-Sama
“escried .

 

_ (Print Name - Signature) DIL # State

    
 
   

 

&

  

Zture of Owner/Driver/Designee

Signaturé of Officer Witnessing

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Left on Scene?
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causad, theft of, or theft from, the vehicie

ID #
 

‘Case 1:09-cv-20470-FAM Document 1 Entered on FLSD Docket 02/25/2009 Page 10 of 11

 

 

 

 

 

 

 

 

C) IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR DADE COUNTY, FLORIDA. 209
IN THE COUNTY COURT IN AND FOR DADE COUNTY, FLORIDA.

DIVISION CASE NUMBER
CRIMINAL ORDER FOR THE RETURN OF

CO TRAFFIC PERSONAL PROPERTY M O 8-324

L] OTHER

THE STATE OF FLORIDA VS.

PLAINTIFF _ DEFENDANT

 

 

THIS CAUSE having come to be heard upon the Motion of the Defendant for the return of his property andthe.

Court having been fully advised in the premises, it is hereby

ORDERED AND ADJUDGED that the following property be returned to the Defendant, $4694.00
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DONE AND ORDERED in Dade County, Florida onthis_. \ ss day of < ~Octier et __, WOOP.
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Ju Count ty Court judge

STATE oF mr LCs A
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Deputy Clerk k He AE

   

 

 

 

CLKICT 22. REV. 12/94

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Case 1:09-cv-20470-FAM Document 1 Entered on FLSD Docket 02/25/2009 Page 11 of 11

SIS 44 (Rev. 2/08)

The JS 44 civil cover sheet and the information contained herein neither r

CIVIL COVER SHEET

lace nor supplement the filing and service of pleadings or other

apers as required by law, except as provided

by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

the civil docket sheet.

(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

 

I.

(a) PLAINTIFFS

keobeer lee SCOTT LP.

(b) County of Residence of First Listed Plaintiff Mit Mi “ dad E

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorney’s (Firm Name, Address, and Telephone Number)

DEFENDANTS

NOTE:

FAbL Nate, Customs ¥ BORDER P20
Miki Done Pouce HEADQUALT EE

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

MIAMI-DADE

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT
LAND INVOLVED.

 

Attormeys (If Known)

 

 

(d) Check County Where Action Arose: ‘MIAMI-DADE © MONROE 0 BROWARD O PALM BEACH © MARTIN © ST.LUCIE 0 INDIAN RIVER © OKEECHOBEE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

HIGHLANDS
Ii. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
Y: U.S. Government O 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 a1 Incorporated or Principal Place a 4 a4
of Business In This State
O 2 U.S. Government 0 4 ~~ Diversity Citizen of Another State a 2 G 2 Incorporated and Principal Place oO 5 os
dant i tl
Defendan {Indjcate Citizenship of Parties in Item HI) of Business In Another State
Foreign Nation a 6 ao 6
IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES J
© 110 Insurance PERSONAL INJURY PERSONAL INJURY |0 610 Agriculture O 422 Appeal 28 USC 158 GO 400 State Reapportionment
O 120 Marine © 310 Airplane QO = 362 Personal Injury - G 620 Other Food & Drug O 423 Withdrawal GO 410 Antitrust
GO 130 Miller Act O 315 Airplane Product Med. Malpractice 625 Drug Related Seizure 28 USC 157 Q 430 Banks and Banking
O 140 Negotiable Instrument Liability GQ 365 Personal Injury - of Property 21 USC 881 G 450 Commerce
© 150 Recovery of Overpayment |0 320 Assault, Libel & Product Liability © 630 Liquor Laws PROPERTY RIGHTS G 460 Deportation
& Enforcement of Judgment Slander OG 368 Asbestos Personal |O 640 R.R. & Truck GO 820 Copyrights GO 470 Racketeer Influenced and
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Student Loans OG 340 Marine PERSONAL PROPERTY Safety/Health O 490 Cable/Sat TV
(Excl. Veterans} © 345 Marine Product O 370 Other Fraud 690 Other OD 810 Selective Service
0 153 Recovery of Overpayment Liability GQ = 371 Truth in Lending LABOR SOCIAL SECURITY O 850 Securities/Commodities/
of Veteran’s Benefits © 350 Motor Vehicle QO 380 Other Personal QO 710 Fair Labor Standards O 861 HIA (1395ff} Exchange
O 160 Stockholders’ Suits G 355 Motor Vehicle Property Damage Act 862 Black Lung (923) GO 875 Customer Challenge
0 190 Other Contract Product Liability 385 Property Damage O 720 Labor/Mgmt. Relations O 863 DIWC/DIWW (405(g)) 12 USC 3410
O 195 Contract Product Liability |O 360 Other Personal Product Liability O 730 Labor/Mgmt.Reporting O 864 SSID Title XVI O 890 Other Statutory Actions
O 196 Franchise Injury & Disclosure Act O 865 RSI (405(g)) GO 891 Agricultural Acts
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |0 740 Railway Labor Act FEDERAL TAX SUITS O 892 Economic Stabilization Act
O 210 Land Condemnation O 441 Voting O 510 Motions to Vacate [O 790 Other Labor Litigation G 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
O 220 Foreclosure © 442 Employment Sentence O 791 Empl. Ret. Inc. Securit or Defendant) O 894 Energy Allocation Act
O 230 Rent Lease & Ejectment © 443 Housing/ Habeas Corpus: Act O 871 IRS—Third Party o :
O 240 Torts to Land Accommodations OO 530 General 26 USC 7609 895 Freedom of Information Act
O 245 Tort Product Liability O 444 Welfare G 535 Death Penalty I IMMIGRATION O 900 Appeal of Fee Determination
445 Amer. w/Disabilities + 462 Naturalization Under Equal Access to Justice
© 290 All Other Real Property o Employment O 540 Mandamus & Other] 0 Application
446 Amer. w/Disabilities - soap: 463 Habeas Corpus-Alien
a Other GO 550 Civil Rights a Detainee
©) 440 Other Civil Rights 1 $55 Prison Condition o 465 Olher Immigration 950 Constitutionality of State
ctions Statutes
V. ORIGIN (Place an “X” in One Box Only) Ap eal to District
-_ : Transferred from ae Judge from
1 Original O 2. Removed from O 3. Re-filed- O 4 Reinstatedor O 5 another district O16 Multidistrict OF 7 Magistrate
in, ‘ourt see VI bel Reopen: A Litigati
Proceeding State C (see VI below) eopened (specify) gation Judement

 

VI. RELATED/RE-FILED

CASE(S).

(See instructions
second page):

 

a) Re-filed Case O YES ONO

JUDGE

b) Related Cases O YES ONO

DOCKET NUMBER

 

VIL CAUSE OF ACTION

diversity):

 

LENGTH OF TRIAL via days estimated (for both sides to try entire case)

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless

 

VIII. REQUESTED IN

ABOVE INFORMATION IS TRUE & CORRECT TO
THE BEST OF MY KNOWLEDGE

COMPLAINT:

) CHECK IF THIS IS A CLASS ACTION
UNDER F.R.C.P. 23

 

  

DEMAND $

CHECK YES only if demanded in complaint:

JURY DEMAND:

O Yes WX No

 

FOR OFFICE USE O

RECEIPT #

 

ft ‘24 2009

IFP XX

 
